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Exhibit "A"
290733 ‘Tuyet Nguyen (290733) Houma LA
293634 Huyen Le (293634) Breaux Bridge LA
294005 Tran Thuy (294005) Breaux Bridge LA
294013 Thao Ha (294013) Westwego LA
294365 Tim Neuyen (294365) Houma LA
294414 Joseph Le (294414) Marrero LA
294523 Duong Phan (294523) Metairie LA
316099 Cuong Tran (316099) Marrreo LA
316360. Minh Tran (316360) Marrero LA
316877 Darlene McKendall (316877) Metairie LA
317387 Allena Kim (317387) Westwego LA
317880 Jonathan Tran (317880) New Orleans LA
318149 Thanh Nguyen (318149) Forth Worth TX
318228 Tri Le (318228) Houma LA
318269 Thao Nguyen (318269) Gretna LA
318305 Dung Nguyen (318305) Marrero LA
318493 Hanh Nguyen (318493) Marrero LA
318939 Thanh Tran (318939) Marrero LA

